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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY

    SYMBOLOGY INNOVATIONS, LLC,

                           Plaintiff,                       Civil Action No. 3:20-cv-00524

          v.

    CASIO AMERICA, INC.,                                    TRIAL BY JURY DEMANDED

                           Defendant.

                                   MOTION FOR DISMISSAL

       Under Federal Rule of Civil Procedure 41(a), Symbology Innovations, LLC (“SI”) moves

to dismiss its claims against Casio America, Inc., with prejudice, and further moves for an Order

that each party bears its own attorneys’ fees and costs.

Dated: August 31, 2020                                 Respectfully submitted,

Of counsel:                                            STAMOULIS & WEINBLATT LLC

Howard L. Wernow (Pro hac vice)                        /s/Stamatios Stamoulis
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       SO ORDERED this        30        day of      September            , 2020.




                                                 United States District Judge
